Case 2:12-cv-08333-ODW-JC Document 1 Filed 09/27/12 Page 1 of 17 Page ID #:25

                                                                                      FlLEil

  I    Breft L. Gibbs, Esq. (SBN 25 loo0)
       Of Counselto Prenda Law Inc.
                                                                           zfii? SfP       2l      AH   ll' 09
  ")   38 Miller Avenue, #263
       Mill Valley,CA9494l                                                                 Ej
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       4 l 5-325-s900
                                                                          ' bEr..i   iri        i ili'[:.'^'Jl'
       bl gibbs@wefi ghtpiracy,eom
                                                                         6Y
  4
       Attornev for Plaintiff
  5


  6
  ,|                          IN THE UNITED STATES DISTRICT COURT FCIR THE

                                     CENTRAL DISTRICT OF CALIFORNLA
  I
  I
 l0    TNCENUITY I3 LLC,                                     ro"cv      n- 8373
                                                             Judge:
 ll            v,
                        Plaintiff
                                                                       S\/ W lP:t.,,*1
 t2
       JOI.IN DOE                                            COMPLAINT
 l3
                        Defendant.
                                                             DEMAND FOR.IT]RY TRIAL
 l4
 l5

 l6            Plaintiff Ingenuityl3I.LC (''Plaintiff'), through its undersigned counsel, hereby files this

 t7    Complaint requesting damages and injunctive relief, and alleges as follows:

 l8                                        NATURE OF THE CASE
               .l
 l9                     Plaintifffiles this action for copyright infringement under the United States Copyright
 z0    Act and related contributory infringement and negligence claims under the common law to combat
 zl
       the willful and intentional infringement of its creative works. Unidentified Defendant John Doe
 2?
       ("Defendant"), whose name Plaintiff expects to ascertain during discovery, knowingly and illegally
 23
       reproduced and distributed Plaintiff s copyrighted Video by acting in concert with others via the
 24

 25    BitTorrent file sharing protocol and, upon information and belief, eontinues to do the same. In using

 26    BitTorrent, Defendant's infringment actions furthered the efforts of numerous others in infringing on

 27    Plaintiff s copyrighted works. The result: exponential viral infringment. Plaintiff seeks a permanent
 28
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  I   injunction, statutory or actual damages, auard of costs and attorney's fees, and other relief to curb

  2   this behavior.
  t
  J
                                                  THE PARTIES
  4
             2.        Plaintiff Ingenuityl3 LLC is a limited liability company organized and existing under
  5
      the laws of the Federation of Saint Kitts and Nevis. PtaintifT is a holder of rights to various
  6
      copyrighted works, and is the exclusive holder of the relevant rights with resBect to the copyrighted


  8
      creative work at issue in this Complaint.

  9           3.       The copyrighted work at issue in this complaint is one of Plaintiffs adult
 l0   entertainment videos. "A Peek Behind the Scenes at a Show" (the "Video").

 ll           4.       Deibndant's actual name is unknown to Plaintiff Instead, Defbndant is known to
 l2
      Plaintiff only by an Inrernet Protocol address ("lP address"), which is a number assigneclto devices,
 t3
      such as computers, that are connected to the Internet. In the course of monitoring lnternet-based
 l4
      infringement of its copyrighted content, Plaintiffs agents observed unlawful reproduction and
 l5

 l6   disrribution occurring over IP address 108.13.119.253 via the BitTonent file transfer protocol.

 t7   Plaintiff cannot ascertain Defendant's actual identity without limited expedited discovery.

 l8                                    JURISDICTION AND VBNUE
 19           5.       This Court has subject matter jurisdiction over Plaintiff s copyright infringement
 20
      claim under 17 ti.S.C. $$ 101, et seq., (the Copyright Act1,28 U.S.C. $ l33l (actions arising under
 2l
      the laws of the United States), and 28 U.S.C. $ 1338(a) (actions arising under an Act of Congress

      relating to copyrights). T'his Court has supplemental jurisdiction over Plaintiffs contributory

      infringement and negligence claims under 28 U.S.C. $ 1367(a) because they are so related to
 24

 25   Plaintiff s copyright infringement claim, which is within this Court's original jurisdiction, that the

 26   claims fonn part of the same case and controversy under Ar"ticle III of the Llnited States
 27
      lConstitution.
 28
                                                     COMPLAINT                                CASL, NO.
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  I           6.       This Court has personaljurisdiction because, upon information and belief, Defendant
  )    either resides in or committed copyright infringement in the State of California. Plaintiff used
  1

       geolocation technology to trace the IP address of the Defendant to a point of origin within the State
  4
       of California. Geolocation is a method for ascertaining the likely geographic region associated with a
  5
       given IP address at a given date ar.rd time, Although not a litrnus test for personaljurisdiction, the use
  6

  n    of geolocation gives Plaintiff good cause for asse rting that personal jurisdiction is proper over the

  8    Defendant.

  9            7.      Venue is properly founded in this judicial district pursuant to 28 U.S.C. $$ l39l(b)
 l0    and 1400(a) because Defendant resides in this District, may be found in this District, or a substantial
 ll
       part of the events giving rise to the claims in this action occurred within this District.
 12
                                                 BACKGROUND
 l3
               8.      BitTorrent is a modern file sharing method (o'protocol") used for distributing data via
 l4
       the Internet.
 15

 l6            9.      Traditional file transfer protocols involve a central server, which distributes data

 l7    directly to individual users. 'Ihis method is prone to collapse when large numbers of users request

 r8    data from the central server. in which case the server can become overburdened and the rate of data

 t9
       transmission can slow considerably or cease altogether. In addition, the reliability of access to the
 20
       data stored on a server is largely dependent on the server's ability to continue functioning for
 2t
       prolonged periods of time under high resource demands.
 22

 23
               10. Standard PZP protocols involve a one-to-one transfer of whole files between a single
 :.+   uploader and single downloader, Although standard P2P protocols solve some of the issues

 25    associated with traditional file transfer protocols, these protocols still suffer fiom such issues as

 26    scalability. For example, when a popular file is released (e.g. an illegal copy of the latest blockbuster
 27
       movie) the initial source of the file performs a one-to-one whole file transfer to a third party, who
 z8
                                                       COMPLAINT                                    CASE NO.
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  I    then perforrns similar transfers. The one'to.one whole file transfer method can significantly delay

       the spread of a file across the world becattse the initial spread is so limited,
  3
               I   l.   In contrast, the BitTorrent protocol is a decentralized method of distributing data.
  t
       Instead of relying on a ceRtral server to distribute data directly to individual users, the BitTorrent
  5
       protocol allows individual users to distribute data among themselvps, Fut'ther, the BitTorrent
  6
       protocol involves breaking a single large file into many small pioces, which can be transferred much

  {}
  o    more quickly than a single large flle and, in turn, redistributed much more quickly than a single large

  9    file. Moreover, each peer can download missing pieces of the file from multiple sources-often
 10
       sinrultaneously-which causes transfers to be fast and reliable. After downloading a piece, a peer
 11
       automatically becomes a source for the pieee. Ihis distribution method contrasts sharply with a one-
 1)
       to*oRe whole file transfer method.
 t3

 14
               12. In BitTorrent vernacular, individual downloaders/distributors of a particular file are
       oalled peers. The group of peers involved in dorvnloading/distributing a particular file is called a

 t6    swarm. A server which stores a list of peers in a swarm is called a tracker. A computer program that

 t7    implements the BitTonent protocol is called a BitTorrent client. Each swarm is unique to a particular
 l8
       file.
 19
               13, The BitTorrent protocoleperates as fbllows. First, a user locates a stnall"torrent" file.
 z0
       'l-his file contains information about the files to be shared and about the tracker, the computer that
 7l
 1)    coordinates the file distribution. Second, the user loads the torrent file into a Bit'forrent client, rvhich

       automatically atternpts to connect to the tracker listed in the torrent file. Third, the tracker responds

 24    with a list of peers and the BitTorrent client connects to those peers to begin dorvnloading data from

 25    and distributing data to the other peers in the swarm. When the download is complete, the BitTorrent
 26
       client continues distributing data to other peers in the swarm until the user manually disconnects
 at
 ,aI
       from the swarm or the Bit'l'orrent client otherwise does the same.
 28
                                                       CON{PI,AINl'                                 CAS| NO
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  I
  I           14. The degree of anonymity provided by the BitTonent protocol is extremely low.
  z   Because the protocol is based on peers connecting to one another, a peer must broadcast identifying

      information (i.e. an IP address) before it can receive data. Nevertheless, the ac{ual names of peers in
  4
      a swarm are unknown, as the users are allowed to download and distribute under the cover of their
  5
      lP addresses,
  6

              15. i'he BitTorrent protocol is an extremely popular method for transferring data. The
  8   size of swarms for popular files can reach into the tens of thousands of unique peers. A swarm will

  I   commonly have peers frorn man-v, if not every, state in the United States and several countries
 l0   around the rvorld. And every peer in the swarm participates in distributing the file to dozens,
 ll
      hundreds. or even thousands ofother peers.
 t2
              16, The BitTorrent protocol is also an extremely popular method for unlawfully copying,
 l3
      reproducing, and distributing files in violation of the copyright laws of the United States. A broad
 t4
 l5   range of copyrighted albums, audiovisual files, photographs, $oftware, and other forms of media are

 t6   available for illegal reproduction and distribution via the BitTorrent protocol,

 t7           17. Eflorls at combating BitTorrent-based copyright infringement have been stymied by
 l8
      Bit'forrent's decentralized nature. Because there are no central servers to enjoin from unlarvfully
 tq
      dislributing copyrighted content. there is no primary target on which to focus anti-piracy efforls.
 10
      Indeed, the same decentralization that makes the BitTorrent protocol an extremely robust and
 2l
      efficient means of transferring enormous quantities of data also acts to insulate it from anti-piracy
 22

      measures. This lawsuit is Plaintiffs only practical means of combating BitTonent-based

 24   infringement of the Video.

 25                        ALLEGATIONS COMMON TO ALL COUNTS
 26           18. Plaintiff is the exclusive rights holder rvith respect to BitTorrent-based reproduction
 27
      and distribution of the Video.
 28
                                                    COMPI.AINT                                CASE NO
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  i              19, The Video is cunently registered in the United States Copyright Office (Copyright
  )   No, PA0001802629). (See Exhibit A to Complaint.)
  a
                 2A. The torrent file used to access the copyrighted material was namod in a manner that
  4
      would have provided an ordinary individual with notiee that the Video was protected by the

      copyright laws of the United States"
  6

                 ?1. Plaintiff employs proprietary peer-to-peer network forensic softrvare to perform
  I   exhaustive real time monitoring of the BitTorrent-based swarm involved in distributing the Video.

  9   'l'his softrvare is effective in captr.rring data about the activity of peers in a swarm and their infringing

 l0   conduct"
 ll
                 ?2. Defsndant, using IP address 108.13.11q.253, without Plaintiffs authorieation or
 t?
      lieense, intentionally downloaded a torrent file partieular to Plaintiff s Video, purposefully loaded
 l3
      that torrent file into his Bitl'orrent elient-in this casc, libtorrent/0.15.10.0-entered a BitTorrent
 t4
 l{   swarm particular to Plaintiff s Video, anel reproduoed and distributed the Video to numerous third

 l6   parties.

 l7              23. Plaintilf s     investigators detected De fendant's illegal download on
 t8
      2Al2-A8-71at l9:49:43 (UTC). However, this is a simply a snapshot observation of when the lP
 l9
      address was o&sened in the BitTorrent swarm; the conduct took itself place before and after this
 20
      date and time,
 2l
 22
                 24. Detbndant rvas part of a group of BitT'orrent users or pcers in a single swarm-a
 23   process generally described above*whose computers were collectively interconnected for the

 24   sharing of a particular unique file. The particular file a tsitTorrent swarm is associated with has a

 25
      unique filsi(hgsh"*i.e. a unique file identifier generated by an algorithm. The unique hash value in
 26
      this case is identified as 757LE2F7CL972FC5A383A4D87DA00CC3333FB32E (hereinafter "Hash
 27
      Tag."), and common to allof the participants in the srvarm.
 28                                                         6
                                                      COIvIPLAINI                                   CASE NO.
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  II                          COUNT I _ COPYRIGHT INFRINGEMENT
               75. Plaintiff hereby incorporates by reference each and every allegation contained in the
  3
       preceding paragraphs as if fully set forrh fully herein.
  4
               26. Defbndant's conduct intiinges upon Flaintiff s exclusive rights of reproduction and
  5
       distribution that are protected under the Copyright Act.
  6
               27. Defendant knew or had construotive knowledge that his acts constituted copyright
       infringement of Plaintif?s Video.
  I
  I            28, Defendant's conduct was willful within the meaning of the Copyright Ast:
 l0    intsntional, and with indifference to the Plaintif?s rights.
 ll            29. Plaintiff has been damaged by Defendant's conduct, including but not limited to
 12
       economic and reputation losses. Plaintiff continues to be damaged by such conduct, and has no
 l3
       adequate remedy at law to compensate the Plaintiff for all of the possible damages stemming from
 l4
       the Defendant's conduct.
 l5

 r6            3U. Plaintiff hereby reserves the right, pursuant to l7 U.S,C. $ 504(c), to elect to recover
 l7    statutory damages for each infringement, in lieu of seeking recovery of actual damages.

 l8            31. As Defendant's infringement was intentional and willful, Plaintiff is entitled to an
 l9
       award of statutory damages, exemplary damages, attorneys' fees, and the costs of the suit.
 ?0
                          COUNT II - CONTRIBUTORY INFRINGEMENT
 11
               32. Plaintiff hereby incorporates by refbrence each and every allegation contained in the
 ))
       preceding paragraphs as if fully set tbrth fully herein.


 24
               33. When users in this unique swarm all possess the same infringing work with the same
 25    exact hash value, it is beeause each infringer possesses an exact digital copy, containing the exact

 z6    bits and pieces unique to that specific file of Plaintiffs original copyrighted work. They only rvay
 1n
 zt    this happens in a Bitl'onent swarm is through the sharing of these bits and pieces of each same
 28
                                                       CON{PI,AIN'I                              CASE NO.
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  I   unique file, with the same unique hash value, between the users in the swarm. [n essence, although

  2   hundreds of users may be uploading the copyrighted work, a single user will receive only the exact

      parts of a singular upload through that exact swarm, not a compilation of available pieces from
  4
      various uploads.
  5


  5
             34. Defendant published the Hash Tag to the BitTorrent nefwork.
             35. Defendant downloaded, uploaded and distributed the Video to other BitTorrent users
  I   through use of the hash-specified protocol in the unique swarm.

  9          36. As each of the thousands of people who illegally downloaded the movie accessed this
 l0   illegal publication, they derived portions of their illegal replication of the file from multiple persons,
 ll
      including, but not limited to, Defendant,
 t2
              37. Detbndant knew of the infringement, was conscious of his own infringement, and
 l3
      Defendant was fully concsious that his actions resulted in multiple other persons derivatively
 14

 l5   downloaded the file containing Plaintiff s Video.

 l6          38. The inflingement by the other Biflorrent users could not have occurred without
 l7   Defendant's parlicipation in uploading Plaintiffs copyrighted works. As such, Defendant's
 l8
      partieipation in the infringing activities of others is substantial and contributed, for profit, to the
 tq
      infringing activity of thousands of other peers over the lnternet across the world.
 2A
              39. Defendant profited fiom this contributory infringernent by way of being granted
 2l
      acgess to a greater library of other infringing works, some of which belonged to Plaintiff and some
 22

 ZJ   of which belonged to other copyright owners.

 24                                    COUNT III - NEGLIGENCE
 ?5           40.     Plaintiff hereby incorporates by reference each and every allegation contained in the
 26   preceding paragraphs as if fully set forth fully herein.
 27

 28
                                                     COMPLAINI                                   CASE NO.
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      I
      l           41. Defendant accessed, or controlled access to, the Internet connection used in
  2       performing the unauthorized copying and sharing of Plaintiff s Video, proximately causing financial
  n
  J
          harm to Plaintiff.
  4
                  42. Defendant had a duty to secure his Internet connection. Defendant breached that duty
  5
          by failing to secure his Internet connection.
  6

                  43. Reasonable lnternet users take steps to secure their Internet access accounts
  8       preventingthe use of such accounts for an illegal purpose. Defendant's failure to secure his Internet

  9       access account. thereby allowing for its illega! use, constitutes a breach of the ordinary care that a

 l0       reasonable Internet account holder would do under like circumstances.
 ll
                  44. In the alternative, Defendant secured his connection, but permitted an unknown third
 12
          party to use his Internet connection to infringe on Plaintiff s Video. Defendant knew, or should have
 13

          known, that this unidentified individual used Defendant's Internet connection for the aformentioned
 t1

 l5       illegal activities. Defendant declined to monitor the unidentified third-party infringeros use of his

 l6       computer Internet connection, demonstrating further negligence.

 t7               45. In the alternative, Defendant knew of, and allowed for, the unidentified third party
 18
          infiinger's use of his lnternet connection for illegal purposes and thus was complicit in the
 l9
          unidentifi ed third parly's actions,
 20
                  46. Upon information and belief, Defendant's failure to secure his Internet access account
 2l
 ))       directly allowed for the copying and sharing of Plaintiff s Video over the BitTorrent protocol

 a1
 LJ       through Defendant's Internet connection, and interfered with Plaintiffs exclusive rights in the
 ai
 z+       copyrighted work.

 25               47. Upon information and belief, Defendant knew, or should have known of, the
 ?6
          unidentified third party's infringing actions. and, despite this, Defendant directly, or indirectly,
 27
          allowed for the copying and sharing of Plaintiff's Video over the BitTorrent protocol through
 28
                                                          COMPLAINT                              CASE NO
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   II
        Def'endant's Internet connection, and interfbred with Plaintiff s exclusive rights in the copyrighted

        Video.

                 48, By virtue of his unsecured acesss, Defendant negligently allorved the use of his
   4
        Intcrnet aceess acsount to perform the above.described copying ancl sharing of Plaintift's
   5

        copyrighted Video.
   6
                 49, I{ad Dpfendant taken reasonable care in securing ascess to this Internet conneetion, or
   o
   o    monitoring the unidentified third-party individual's use of his lntemet conneetion, such
   q
        intiingements as those described above would not heve occurred by the use of Defbndant's Internet
  i0    ascess account,
  1l
                 50. Defendant's negligent actions allow others to unlawfully copy and share Plaintiff s
  t)
        copyrighted Video, proximately causing financial harm to Flaintiff and unlawfully interf'ering with
  13

        Plaintiff s exclusive rishts in the Video,
  l4
  l5                                                 JURY DEMAND

  t6             5   L    Plaintiff hereby demands a jury trial in this case.

  17                                           PRAYER FOR RELIEF
  l8    IVHFIREFORE, Plaintiff respectfully rcquests Judgment and relief as follows:

  l9             1)       Judgment against Defendant that he has: a) willfully infringed Plaintiffs rights in
  1t)
        federally registered copyrights pursuant to l7 U.S.C. $ 501;and b) otherwise injured lhe business
  7l
        reputation and business of Plaintiff by Defendant's acts and conduct set fbrth in this Complaint;
  22

  12
                 2)       Judgment in favor of the Plaintiff against De{bndant for actual damages or statutory

        damages pursuant to 17 U.S.C. $ 504, at the election of Plaintiff in an amount to be ascertained at
  74

  ?5    trial:

  26

  ?7

  28
                                                         (]O]I{PLAIN'T                          CASH NO
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       I          3)      Order of impoundment under l7 U.S.C. |i$ 503 & 509(a) impounding all infringing

   2       eopies of Plaintiff s audiovisual works, photographs or other materials, rvhich are in Defendant's
   J
           possession or under his control;
   4
                  4)      On Count ll, an order that Defendant is jointly and severally liable to the Plaintiff in
                                                                                        r




       5
           the full amount of Judgment on the basis of a common law claim for contributory infringement
   6

           copyright; for an arvard of compensatory damages in favor ofr the Plaintiff and against Defendant.

       I   jointly and severally, in an amouRt to be determined at trial;

   9               5)     On Count lll, an orderthat Defendant is jointly and severally liable to the Plaintiff in

  10
           the full amount of Judgment on the basis of Defendant's negligence in allowing an unidentified third
  l1
           party access his Internet account and, through it, violate Plaintiff s copyrighted works; for an award
  I?
           of compensatory damages in favor of the Plaintiff and against Defendant, jointly and severally, in an
  t{


           amount to be determined at trial;
  l4
  l5               6)     Judgment in favor of Plaintiff against the Defendant awarding the Plaintiff attorneys'

  l6       fees, litigation expenses (including fees and costs of expert witnesses). and other costs of this action;

  t7       and

  t8
                   7)     Judgment in favor of thc Plaintiff against Defendant, arvarding Plaintiff declaratory
  l9
           and injunctive or other equitable rElief as may be just and warranted uncler the circumstances.
  20
                                                                 Respectful ly Subrnitteel,
  7l
  ))                                                             PRENDA LAW INC

           DATED: September 24, 2017

  24                                                      By:               /s/ Brett L. Cibbs

  25                                                             Brett L. Gibbs. Ilsq, (SBN 251000)
                                                                 Of Counselto Prenda Law Inc.
  26                                                             38 Miller Avenue, #263
                                                                 Mill Valley,CA94q4l
  27                                                             blgibbs@wefi ghtpiracy.com
                                                                 A t t o r ney fo r P I a int iJJ'
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                                                          COMPI-AINT                                 CASE NO
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       t                            DEMAND FOR A JURY TRIAL
   2
           Plaintiff hereby demands a jury trial as provided by FRCP 38(a).
   J


   4
                                                By:            /sl Brett l-. Gibbs
   5
                                                       Brett L. Gibbs, Esq. (SBN 251000)
   6

   n
                                                       Attorney for Plcintiff


   8

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                                                COMPI-AIN'I                            CASE NO,
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                    Date of Cttation:2012
                  Date of Publication: 2012-01"25
           Nafion of Fint Publication: United States
           Authorship on Application: Ingenuityl3 LLC, employer for hire; Dombib; Uniied States; e itizenship: United States.
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                                        UNITED STATBS DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA


       NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY


                    This case has been assigned to District Judge Stephen V. Wilson and the assigned
              discovery Magistrate Judge is Patrick J. Walsh.

              The case number on all documents filed with the Court should read as follows:

                                                 Cv12- 8333 Sv!il (Pilllx)
             Pursuant to General Order 05-07 of the United States District Court for the Central
       District of California, the Magistrate Judge has been designated to hear discovery related
       motions.




        All discovery related motions should be noticed on the calendar of the Magistrate Judge




                             -::                                   :
        -1        -:*                            ---:-                         ---:-:------------
                                                               NOTICE TO COUNSEL

     A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
     filed, a copy of this notice must be serued on all plaintiffs).

     Subsequent documents must be filed at the following location:

             Western Division                        ts I Southern Division              f I Eastern Division
             312 N. Spring St., Rm. G-8                   4ll West Fourth St., Rm. 1-053 u 3470 Twetfth St., Rm. 134
             Los Angeles, CA 90012                        Santa Ana, CA 927014516            Riverside, CA 92501




     Failure to file at the proper location will result in your documents being returned to you.




     CV-18   (03/06)           NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
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